      Case 1:22-cr-00224-DLF Document 37 Filed 04/11/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              Plaintiff,
                                                 1:22-CR-00224-DLF-1
              v.

JOSHUA COLGAN

              Defendant.


                           NOTICE OF APPEARANCE

       Andre Barlow of the law firm Doyle, Barlow & Mazard PLLC hereby enters his

appearance as counsel for Defendant, Joshua Colgan.



Dated: April 11, 2023                      Respectfully submitted,

                                           DOYLE, BARLOW & MAZARD PLLC

                                   By:     /s/ Andre Barlow
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      Case 1:22-cr-00224-DLF Document 37 Filed 04/11/23 Page 2 of 2




                           CERTIFICATE OF SERVICE


       I hereby certify that on April 4, 2023, the foregoing (including any attachments)
was electronically filed with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to all parties required to be served.



                                                          /s/ Andre Barlow
